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                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION

FEDERAL TRADE COMMISSION,                          Case No.: 3:24-cv-00347-AN
STATE OF ARIZONA,
STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA,                              PLAINTIFFS’ POSITION STATEMENT
STATE OF ILLINOIS,                                 REGARDING SEALING EVIDENTIARY
STATE OF MARYLAND,                                 HEARING EXHIBITS
STATE OF NEVADA,
STATE OF NEW MEXICO,
STATE OF OREGON, and
STATE OF WYOMING,

Plaintiffs,

v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

Defendants.




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       Plaintiffs come before this Court to preliminarily enjoin a multi-billion dollar transaction

that—if allowed to go through—would negatively impact Americans across the country. Given

both the size and potential impact of this transaction, the public is, understandably, interested in

this transaction. Despite this, Defendants have designated almost all of their documents on

Plaintiffs’ exhibit list as Confidential or Highly Confidential under the Court’s Protective Order,

ECF No. 97.

       By requiring Defendants to identify, by August 19, which documents they wish to keep

under seal—out of the approximately 300 party documents that Plaintiffs have disclosed they

may use at the hearing—Plaintiffs’ proposal is consistent with this Circuit’s precedent and is

designed to ensure an efficient and ordering hearing. The Ninth Circuit provides that there is a

“strong presumption in favor of access” to judicial records, and that a party seeking to seal

judicial records must “articulate compelling reasons supported by specific factual findings” to

overcome that presumption. Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1178-79

(9th Cir. 2006). At the same time, courts regularly consider the status, and associated limitations,

of nonparties to a litigation when protecting the nonparties’ confidential business information.

See, e.g., United States v. Dentsply Intern., Inc., 187 F.R.D. 152, 160 n.7 (D. Del. 1999); Fox

Broadcasting Co. v. Dish Network, 2015 WL 12765545, at *3 (C.D. Cal. Jan. 12, 2015)

(“[G]ranting protective orders to non-parties to protect their trade secrets and confidential

information does not offend the public interest in disclosure.” (cleaned up)). By contrast,

Defendants’ proposal delays resolution on this issue, prejudicing Plaintiffs’ ability to prepare

their examinations and other advocacy while Defendants, of course, will have a complete

understanding of what they are willing to display to the public.




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           Plaintiffs’ proposal is also more efficient. Resolution in advance of the hearing will offer

the Court, parties, nonparties, and the public with clarity and guidance about what can and

cannot be discussed and disclosed in open court. Early guidance from the Court will also avoid

the possibility of daily, piecemeal disputes. Further, to minimize burden on the parties and the

Court, on Wednesday, August 7, Plaintiffs made a good faith disclosure to Defendants of the

narrow subset of documents most likely to be used in court at the hearing, with the ability to

make only limited supplements to that list.1 Plaintiffs are likewise in the process of making

similar disclosures to all nonparties likely to be called in Plaintiffs’ case-in-chief to facilitate

early resolution of this matter. This proposed protocol is similar to the approach the district court

took in the recent FTC v. Novant matter. See Joint Stipulated Case Management Order (Exhibit

A) at 15, FTC v. Novant Health, Inc., No. 24-cv-00028 (W.D.N.C. Feb. 12, 2024) (describing

process for In Camera Designations).

           Defendants’ proposal, by contrast, would require the Court address disputes on an ad hoc

basis, disrupting the daily flow of proceedings with rolling motions and argument that may

require sealing the courtroom to discuss the purportedly sensitive nature of key documents.

Further, Plaintiffs will be forced to revise planned witness examinations at the 11th hour, all

depending on what positions Defendants take regarding documents that they could and should

have assessed for confidentiality when they were originally produced, rather than waiting until

the eve of the hearing. While Defendants may note that a similar protocol was used in the FTC v.

IQVIA matter, the procedure was inefficient and disruptive. See Declaration of Jennifer Fleury

(Exhibit B).




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    This subset of exhibits contains just over 100 Albertsons documents, and approximately 160 Kroger documents.

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       Proper and narrowly tailored confidentiality designations are Defendants’ burden, and

this could have been avoided if Defendants had made such designations at the outset. To the

extent Defendants feel burdened by this proposed protocol today, it is a problem of their own

making, and cannot justify shifting the burden to Plaintiffs. Plaintiffs respectfully request that

the Court enter the attached proposed confidentiality protocol.

 Dated: August 9, 2024                      Respectfully submitted,

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